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                                   MEMORANDUM
  TO:          All members of filter team

  FROM:        Prosecution AUSA Bryan Fields
               Filter AUSA Jane Bobet

  CC:          All members of prosecution team

  DATE:        March 2, 2022

  RE:          Filter Team Instructions for United States v. Michael Aaron Tew, et al.,
               (D. Colo. Case No. 20-cr-305-DDD


  I.    BACKGROUND

        A.            Summary of Conduct Relating to Charges

        The following summary is not intended to be comprehensive but to provide

  sufficient background to briefly explain the facts related to the need for a filter

  team. Detailed information is contained in an affidavit supporting a July 2020

  criminal complaint charging Michael Tew with conspiracy to commit money

  laundering. [Attachment 1].

         This case concerns the prosecution of three individuals, Michael Tew,

  Kimberley Tew (nee Vertanen), and Jonathan K. Yioulos for, inter alia, a scheme to

  defraud National Air Cargo (NAC), a company that does business, in part, in New

  York and Florida. The case number is 20-cr-305-DDD and is currently pending in

  the United States District Court for the District of Colorado. In general terms, the


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  three defendants are alleged to have conspired to execute a scheme to defraud by

  wire. This scheme was accomplished through the submission and payment of

  fraudulent invoices to NAC for services not rendered to NAC. Mr. Tew is the former

  Chief Financial Officer of NAC, Ms. Tew previously provided some contract services

  to NAC, and until July 2020, Mr. Yioulos served variously as NAC’s Director of

  Finance and Controller. Michael Tew and Kimberley Tew are married.

        B.      Post-Arrest Acquisition of Evidence and Representations by
                Prior Defense Counsel

     For ease of reference, additional relevant facts related to the history of the

  defendants’ representation by legal counsel and the acquisition of evidence are

  outlined in bullet points below.

        •    July 8, 2020. Mr. and Ms. Tew are arrested on a Criminal Complaint.

        •    July 9, 2020. Mr. Tew’s first lawyer, Michael Sheehan, reaches out to
             schedule an interview pursuant to a proffer agreement.

        •    July 15, 2020. Mr. Tew voluntarily submits to an interview in the
             presence of his lawyer, Michael Sheehan, pursuant to the terms of a
             proffer agreement.

        •    July 24, 2020. Eric M. Creizman and Melissa Madrigal contact the
             government to assert that they are now representing Mr. Tew.

        •    July 28, 2020. Mr. Tew submits to a second proffer interview in the
             presence of his new attorneys. During that interview, he consents to a
             review of text communications between him and Ms. Tew relating to the
             crimes under investigation.

        •    July 29, 2020. Mr. Tew consents to an extraction of his phone.

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        •   August 3, 2020. Eric Creizman alerts the government that he intends to
            withdraw his representation the next day.

        •   August 20, 2020. Edward Harris, Mr. Tew’s third attorney, enters an
            appearance.

        •   September 22, 2020. Agents apply for and receive a warrant to obtain
            information from Apple associated with the Apple ID kley@me.com,
            belonging to Ms. Tew.

        •   October 2, 2020. Edward Harris communicates his client’s consent to
            review (1) text messages between Mr. Tew and alleged co-conspirator
            Jonathan Yioulos, (2) text messages between Mr. Tew and another
            suspected co-conspirator, Larry Ward, and (3) all pictures and recordings
            on the phone up to, but not including, the day of arrest (July 8, 2020).
            Harris also communicates his agreement that he will review the materials
            dated after the arrest and identify the items that are not privileged.
            [Attachment 2] The resulting filtered phone extraction is Item 5.

        •   October 21, 2020. Edward Harris moves to withdraw as Mr. Tew’s
            attorney.

        •   October 22, 2020. Thomas Richard Ward enters his appearance as Mr.
            Tew’s attorney.

        •   October 23, 2020. Ms. Tew submits to an interview in the presence of
            her attorney, Jamie Hubbard, pursuant to the terms of a proffer
            agreement.

        •   November 24, 2020. AUSA Hetal Doshi requests that the FBI
            Cybercrime lab process the return from the kley@me.com search warrant.
            The return includes both encrypted and unencrypted data.

        •   December 2, 2020. AUSA Hetal Doshi requests that the cybercrime lab
            filter out undated communications and communications that were
            undated or dated on or after July 8, 2020.

        •   December 14, 2020. FBI Digital Operations Specialist Nicholas Hanggi
            reports that he has completed a filter of the unencrypted kley@me.com
            return. This filtered return, which includes only communications dated
            July 7, 2020 or earlier, is provided to the prosecution team. [Item 1]
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        •    December 23, 2020. Agents apply for and receive a warrant to obtain
             information from google associated with three accounts:
             chrisrncn@gmail.com; meyersconsultinggroupinc@gmail.com; and
             political.media.wdc@gmail.com [Items 2-4, respectively)

        •    February 3, 2021. The Grand Jury returns the indictment in this case.

        •    February 25, 2021. Tor Ekeland enters his appearance for both Mr. and
             Ms. Tew.

        •    March 21, 2021. FBI Senior Digital Investigative Analyst Kristen Scott
             reports that she has completed a filter of the encrypted portion of the
             kley@me.com return. This filtered return, which includes only
             communications dated July 7, 2020 or earlier, is provided to the
             prosecution team. [Item 1]

        •    December 27, 2021. Tor Ekeland moves to withdraw as counsel for Mr.
             and Ms. Tew.

        •    February 25, 2022. Peter Bornstein enters his appearance for both Mr.
             and Ms. Tew.

        C.      Summary of Electronic Repositories of Evidence

        For additional ease of reference, the chart below identifies the items obtained

  in the investigation, referenced above, that will be the subject of this filter review:

   Item                      Description                                 Case Number
   1    Unencrypted and Encrypted Portions of Return for
        Search Warrant executed on Apple for information
                                                                       20-sw-01115
        associated with Apple ID kley@me.com filtered to
                                                                       [Attachment 3]
        exclude undated items and items dated on or after July
        8, 2020 (“Item 1”)
   2    Return of Search Warrant executed on Google for
                                                                       20-sw-01522
        information associated with the account
                                                                       [Attachment 4]
        chrisrncn@gmail.com (“Item 2”)
   3    Return of Search Warrant executed on Google for
                                                                       20-sw-01532
        information associated with the account
                                                                       [Attachment 5]
        meyersconsultinggroupinc@gmail.com (“Item 3”)
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   Item                      Description                                     Case Number
   4    Return of Search Warrant executed on Google for
                                                                           20-sw-01533
        information associated with the account
                                                                           [Attachment 6]
        political.media.wdc@gmail.com (“Item 4”)
   5    July 29, 2020 consent extraction of two iPhones for
        phone numbers ending in 1312 and 7473 with serial
        numbers F17CN3YWPMFJ and C39Y25QBKPFR used                         N/A
        by Michael Tew1 and filtered pursuant to prior
        agreements with defense counsel (“Item 5”)

         D.     Correspondence with Defense Counsel from Tor Ekeland Law
                PLLC

         Michael Tew and Kimberley Tew were jointly represented by the same

  counsel, Tor Ekeland, Michael Hassard, and Xuan Zhou between February 25, 2021

  and February 25, 2022.

     The prosecution team at the time had been in contact with counsel for Mr. Tew

  and Mrs. Tew about the precautions taken to date regarding filtering out materials

  subject to the attorney-client and work product privilege for Item 1. That

  background is laid out in multiple letters listed below and attached here for

  reference:




         1 Defendant Michael Tew’s prior attorneys previously provided search terms — the

  names of attorneys previously representing Tew — as part of the consent search process
  and those terms have already been applied. Nevertheless, out of an abundance of caution
  and to maintain consistency in the filter process, this consent phone extraction is also being
  submitted for additional filter review consistent with the terms of this memorandum. This
  indiscriminate phone extraction is broader than the much more targeted voluntary
  disclosure of specific text messages made by Michael Tew on July 28, 2020 and is submitted
  for filter review on that basis, in addition to items 1-4.

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     1. July 7, 2021 Letter from Government to Counsel for Mr. Tew and Mrs. Tew
        regarding further filtering of search warrant return for kley@me.com
        [Attachment 7];

     2. July 9, 2021 Response from Counsel for Mr. Tew and Mrs. Tew to
        Government [Attachment 8];

     3. July 23, 2021 Letter from Counsel for Mr. Tew and Mrs. Tew to Government
        regarding the same ([Attachment 9];

     4. July 29, 2021 Response from Government to Counsel for Mr. and Mrs. Tew
        [Attachment 10];

     5. September 10, 2021 Response from Counsel for Mr. and Mrs. Tew to
        Government [Attachment 11];

     6. September 16, 2021 Letter from Counsel for Mr. and Mrs. Tew to
        Government [Attachment 12];

     7. September 17, 2021 Email Response from Government to Counsel for Mr.
        and Mrs. Tew [Attachment 13].

        E.     Prosecution Team Members

        The AUSAs on the prosecution team have included Hetal Doshi, Matthew

  Kirsch, Andrea Surratt and Bryan Fields. None of these attorneys have been

  exposed to information identified by defense counsel as potentially protected by an

  attorney-client privilege. The FBI case agent is Special Agent Sarah Anderson.

  There is also no reason to believe she has been exposed to information identified by

  defense counsel as potentially subject to an attorney-client privilege.

        The IRS-CI case agent is Special Agent Lisa Palmer. SA Palmer took the

  lead in the review of Item 1. After Item 1 was released to the prosecution team in
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  December following its initial filtering to exclude undated items and items dated

  July 8, 2020 or later, she conducted a very focused review to determine whether

  specific communications between the defendants or between the defendants and

  suspected co-conspirators could be seized pursuant to the warrant. Those identified

  communications did not involve attorneys and were clearly not protected by an

  attorney client privilege. As outlined in the letter dated July 7, 2021, Special Agent

  Palmer resumed her review of Item 1 in July and, on July 5, identified

  communications that appeared to include one or more attorneys. She immediately

  notified the assigned AUSAs and stopped her review. [Attachment 7]. There is no

  reason to believe that she actually reviewed any content of such communications.

  However, out of an abundance of caution, she is not currently an active member of

  the prosecution team, pending a review by the assigned Filter Attorney.

  II.     SCOPE OF REQUEST FOR FILTER REVIEW

        A. Rationale for Filter Review of Items 1-5

          Current counsel for Mr. and Ms. Tew has asserted that Items 1-4 contain

  materials that may be subject to the attorney-client privilege. However, current

  counsel has refused to provide a list of prior defense attorneys, other search terms, a

  specific log of privilege claims, or to clearly identify the scope of any attorney-client

  relationship. Based on the correspondence to date and SA Palmer’s notification

  that even after the initial filtering, Item 1 still contains possibly privileged

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  material, the prosecution team advises that Item 1 is an appropriate item for

  additional filter review, as outlined in this memorandum.

        Defense counsel’s September 16, 2021 letter asked the government to halt its

  review of “all” discovery returned under search warrants in this matter. The letter

  asserts that “all the discovery seized under the search warrants is irreparably

  tainted.” [Attachment 12]. Without conceding any requirement that it do so, the

  government voluntarily agreed to stop review until a meeting with defense counsel

  on October 12, 2021. The previous AUSAs assigned to this matter — Hetal Doshi

  and Andrea Surratt —met with counsel for Mr. Tew and Ms. Tew on October 12,

  2021. There was no resolution to date on the issue of further filtering.

        There is no reason to believe that items 2-4 contain privileged material.

  Those items were the subject of 2703(d) orders providing non-substantive

  information about the correspondents in those accounts. No attorneys were

  identified. Current counsel for Mr. and Ms. Tew has not provided a list of attorneys

  or otherwise specifically elaborated on the claim that these items contain privileged

  materials. Furthermore, without review, it is unknown whether either defendant

  actually used those accounts or otherwise has standing to challenge the warrants

  justifying their seizure or manner of review.




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        Item number 5 has already been filtered pursuant to a negotiated agreement

  with Michael Tew’s prior lawyer, which involved filtering via search terms and

  permission to view specific categories of items. [Attachment 2].

        In sum, only item 1 is known to contain potentially protected materials.

  While items 2-4 are not known to have any potentially protected materials, the

  prosecution team acknowledges the defendant’s assertion that they do and (1)

  assumes, without conceding, that one of the defendants has standing to challenge

  any search related to those accounts and (2) assumes, without conceding, that the

  defendants are the holders of any privilege protecting information in those account.

  Item 5 has already been filtered pursuant to conversations with prior defense

  counsel. While Item 1 is thus the only item clearly warranting filter review, the

  prosecution team nevertheless also submits items 2-5 for filter review out of an

  abundance of caution.

        B.     Items Specifically Excluded From Filter Review

        Defense counsel’s letter of September 16, 2021, Attachment 12, requests

  that the government halt a review of “all” materials obtained pursuant to search

  warrants on the basis of objections to filter reviews. But this request is overbroad.

  Without conceding that it must, the government has nevertheless voluntarily

  stopped its review of the return from search warrant executed on AT&T for

  telephone numbers associated with Michael Tew, docketed at 20-sw-0733, because

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  the initial review suggested that AT&T did not provide the correct records. 2 That

  item is, therefore, excluded from this filter review. A search warrant executed at the

  defendants’ home on July 31, 2020 and docketed at 20-sw-00896 yielded only

  physical evidence — two bank bags — and therefore requires no filter review.

         Defense counsel’s letter of September 16, 2021 does not reference other

  repositories of evidence obtained through other methods. Nevertheless, out of an

  abundance of caution, the prosecution evaluated whether to submit those

  repositories for further review. Items in this category include photographs of

  specific text messages on Michael Tew’s telephone taken in the presence of his

  counsel during a proffer session on July 28, 2020, and electronic devices obtained

  from co-defendant Jonathan Yioulos. The prosecution team has concluded that

  neither of these items should be submitted to filter review. Each of them comprises

  information obtained via clear consent obtained with approval from an independent

  defense attorney. They could not possibly contain privileged material.

  III.   PURPOSE OF FILTER REVIEW OF ITEMS 1-5




         2 As documented by FBI Special Agent Sarah Anderson in an FD-302 entered into

  the file on August 17, 2020 (SW_0039675), the FBI received a return from AT&T on July
  27, 2020. However, when SA Anderson began reviewing the provided materials she became
  concerned that the records provided related to other telephone numbers or that they were
  otherwise not responsive to the warrant. She stopped her review and contacted AT&T. An
  FD-302 dated September 11, 2020, (INV_004958), notes that AT&T has not provided any
  responsive content.
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        The purpose of these instructions is to protect any applicable attorney-client

  and work-product privileges held by defendants Michael Tew and Kimberley Tew.

  These instructions are further designed to prevent the disclosure of privileged

  and/or otherwise constitutionally protected attorney-client information to case

  agents, investigators, and prosecutors assigned to the investigation, and to ensure

  that the government effectively documents its efforts to do so.

     A. Glossary of Terms Used In These Instructions

        As used in these instructions, the terms below are defined as follows:

        1.     Prosecution team - All AUSAs, SAUSAs, Agents/Officers and Staff
               assigned to work on any aspect of the case other than the filter team.

        2.     Filter team - a team of AUSA(s) and/or investigator(s), who are
               separated from the prosecution team in order to protect the
               defendant’s constitutional and statutory rights by ensuring that the
               prosecution team is not exposed to privileged information.

        3.     Privileged information – information protected by the attorney-
               client privilege and/or the work product rule.

        4.     Presumptively protected materials – any communications between
               (1) a lawyer or staff member or agent of a lawyer and (2) a
               defendant/target/subject or another lawyer or staff member or agent of
               a lawyer, or materials that otherwise appear to contain the work
               product of a lawyer.

        5.     Potentially protected materials – any materials identified in a
               Filter Agent’s initial review as possibly containing communications as
               defined in “presumptively protected materials” or materials that
               appear to have been generated by a lawyer or otherwise contain the
               work product of a lawyer.


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        6.    Non-protected materials – any materials that do not involve
              communications with a lawyer and do not appear to have been
              generated by a lawyer.




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          B.    General Overview of Safeguards to Protect Potentially
                Protected Materials

          To prevent such disclosure and the potential taint of investigators and

  prosecutors assigned to the case, the Federal Bureau of Investigation and/or IRS-

  Criminal Investigation and the United States Department of Justice have

  designated separate agents and Assistant United States Attorney(s) (collectively,

  the “filter team”) to review items 1-5 to determine whether they contain any

  potentially protected materials. The filter team serves a privilege screening

  function only; they will not review information for discoverability under criminal

  discovery rules and case law. Filter team members will not be involved with the

  primary investigation, in any way, and may not have any further role in the

  investigation or prosecution of this case, unless some further privilege issue arises

  requiring additional review. Members of the filter team are prohibited from

  discussing with any member of the prosecution team, including investigators and

  prosecutors assigned to the case, or any other person not assigned to the filter team,

  any protected information they learn as a result of their assignment to this filter

  team.

          Filter team members must be familiar with the indictment in this matter, the

  warrants, the applications for the warrants, and all affidavits or attachments

  thereto. All of these documents have been separately provided to you.


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  [Attachments 3-6]. Members of the filter team and the prosecution team must

  also review and understand these instructions and the list of the attorneys and/or

  law firms that are known or believed to represent or have represented Mr. Tew or

  Ms. Tew. If you have any questions about these instructions at any time during

  this process, you should ask the filter AUSA3 before you proceed further.

          This memo and the instructions below relate to the process and procedure to

  identify and remove protected materials contained in the items seized. This memo

  and the instructions below are in addition to the procedures outlined in the search

  warrants. The filter team should be familiar with and, where applicable, follow

  both the instructions contained in this memo and the procedure in the search

  warrant.

  IV.     INSTRUCTIONS TO THE FILTER TEAM

        A. Filter Team Members and Roles

          1.     The FBI and IRS have, respectively, designated Special Agents Kristen

  Varel and Marc Lane as Filter Agents who will analyze the items and information

  seized in the execution of the search warrants related to this case, and who will

  then remove all presumptively protected information and identify potentially

  protected and non-protected information.


          3 Although this policy often uses the singular terms “AUSA” and “investigator” or

  “Special Agent” in referring to members of filter teams, there may be more than one AUSA
  and agent on any filter team.
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        2.     The United States Department of Justice has designated Assistant

  United States Attorney Jane Bobet as the Filter AUSA who will review materials

  identified by the Filter Agent as containing potentially protected or non-protected

  materials. The Filter AUSA will further ensure that all presumptively protected

  items are removed, not reviewed by the filter team, except as necessary to make the

  determination the item is presumptively protected, and are returned to the

  privilege-holder or counsel for the privilege-holder as soon as reasonably practical.

        3.     Support staff designated by the respective agencies may also be

  assigned to assist the Filter Agents and Filter AUSA in administrative tasks as

  necessary to accomplish their duties. Currently, Legal Administrative Specialist

  Joshua Graber is maintaining Items 1-5 in a secure database accessible only to Mr.

  Graber, the Filter AUSA, and members of the U.S. Attorney’s Office IT/litigation

  support staff.

        4.     Filter team members may not reveal or discuss the contents of any

  document, file or item determined to contain presumptively protected or potentially

  protected material to any other person except the Filter Team Coordinator or

  employees of the Professional Responsibility Advisory Office at DOJ, or counsel for

  the appropriate defendant, unless otherwise ordered by the court. Attached to these

  instructions is a list of investigative agents and prosecutors to prevent any

  inadvertent disclosure.
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         B.     Review by the Filter Team

         5.     Investigative agents have executed the search warrants, or obtained

  information via consent, and have taken possession of the digital information

  outlined in the warrants or subject to the terms of the consent. Before the

  investigative agents continue their review4 of the items identified in the chart

  above, they will be reviewed by the Filter Agents, who will remove all

  presumptively protected information and identify potentially protected and non-

  protected information.

         6.     In all instances, in making the interim determination as to whether a

  document or item contains protected material, the Filter Agent and Filter AUSA

  should err on the side of caution by treating any questionable item as potentially

  protected material and complying with these instructions.

         C.     Filter Agent Review Using Search Terms

         7.     The Filter Agents will utilize search terms to conduct an initial review

  of the information in items 1-5 above to determine whether they contain




         4 As noted in the July 7, 2021 Letter from Government, Attachment 7, the

  government has already prophylactically filtered out materials in Item 1 that were either
  undated or dated on or after July 8, 2020 (the date of Mr. and Ms. Tews’s arrest) and began
  a review of the remaining information. However, that review was immediately stopped
  when there was a reasonable possibility that the item might still contain potentially
  privileged information.
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  presumptively protected material, potentially protected material, or non-protected

  material.

               a.     After a forensic image or copy of any of the items is created and

  placed into a reviewing platform, in order to identify protected communications, the

  Filter Agent may then access the items and conduct a keyword search of any

  electronic media, specifically looking for information associated with attorneys or

  legal staff known to represent Mr. Tew or Ms. Tew.

               b. Here, because Items 1 and 5 — the iCloud account associated with

  kley@me.com and the consent extraction of Mr. Tew’s phone — have already been

  filtered, the process discussed below will be a secondary process consisting of

  applying additional filters to the already filtered items. Access to the materials

  should be restricted to the Filter Agents, Filter AUSA, and assigned Filter AUSA

  support staff. The items should be inaccessible to the investigative team until

  reviewed by the Filter Agent and marked as non-protected, as discussed below. Any

  more specific protocols used in any particular case must by recorded by the Filter

  AUSA.

        8.     As the Filter Agents review the materials on the media using keyword

  searches, the Filter Agents will sort the material as follows: presumptively

  protected, potentially protected or clearly non-protected.



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                      a.     If an item is presumptively protected the identifying

  Filter Agent should not review the item, except as necessary to make the initial

  determination, and should identify the item as presumptively protected.

  Presumptively protected materials must be electronically flagged so that they are

  hidden from and inaccessible to investigative agents and members of the

  prosecution team. The identifying Filter Agent will notify the Filter AUSA that the

  above procedures have been followed and arrange for the Filter AUSA’s later review

  consistent with these instructions, specifically and solely as necessary to confirm

  that the materials are presumptively protected.

               b.     If an item appears to contain protected material but the

  identifying Filter Agent is not certain, the Filter Agent should electronically flag it

  as potentially protected and notify the Filter AUSA in the manner described in

  paragraph 9(c) below.

               c.     If an item does not contain any protected material, the

  identifying Filter Agent should identify the item as non-protected. Those items

  must also be forwarded to the Filter AUSA for review and separately designated as

  containing non-protected material.

                      d.     The Filter Agent must maintain a log of all potentially

  protected material identified, indicating the material by type, date, sender and



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  recipient (if applicable), and the location of and digital device on which the item was

  located, (i.e. cellular phone, email account, etc.).

         D.     Review by the Filter AUSA

         9.     The Filter AUSA will receive all documents, tangible items, and digital

  or electronic data forwarded by the identifying Filter Agent.

                a.     If information has been identified as presumptively protected by

  the Filter Agent, the Filter AUSA will not review those items, except as necessary

  to confirm they are presumptively protected. After taking any necessary steps to

  confirm that such items are presumptively protected, the Filter AUSA, working

  with filter support staff, shall maintain any information found to be protected in a

  digital medium that is not accessible to anyone outside the Filter Team and return

  them to the privilege holder or counsel for the privilege holder as soon as reasonably

  practical.

                b.     If any contents of a digital device have been identified as

  presumptively protected by the identifying Filter Agent, the Filter AUSA will not

  review those items, except as necessary to confirm that they are presumptively

  protected and to arrange with reasonable promptness to make the material

  available for inspection by the privilege holder or counsel for the privilege holder.




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               c.     If documents, items or information have been identified as

  potentially protected by the filter agent, the Filter AUSA will review that

  information further to determine if the material is protected.

               d.     If the Filter AUSA determines that a document or item

  designated as potentially protected is in fact protected and not subject to disclosure,

  the Filter AUSA will place the document or item in a medium not accessible to

  anyone outside the Filter Team and return it to the privilege holder or privilege

  holder’s counsel as soon as reasonably practical.

               e.     If the Filter AUSA determines that the contents of any digital

  device designated as potentially protected is in fact protected and not subject to

  disclosure, he/she should arrange for review of the material by the privilege holder

  or by counsel for the privilege holder with reasonable promptness in the manner

  and in the time frame described in paragraph 9 (a) above.

               f.     If the Filter AUSA determines that a tangible document or item

  from a digital device designated as potentially protected is not protected, the Filter

  AUSA may designate the document or item as not protected. If the Filter AUSA is

  uncertain the item is protected, the Filter AUSA will confer with counsel for the

  privilege holder and if no agreement can be reached submit the material under seal

  to the court for a final determination as to whether the material is protected.



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               g.     If the Filter AUSA believes that potentially protected material is

  not protected due to waiver or other exception to the privilege, the Filter AUSA will

  confer with counsel for the privilege holder and if no agreement can be reached,

  submit the material under seal to the court for a final determination. The Filter

  AUSA will not forward any potentially protected material to investigative agents or

  prosecutors without either agreement of counsel for the privilege holder or the

  court’s prior approval.

               h.     If items or information have been identified as not protected by

  the identifying Filter Agent, the Filter AUSA will review those items using search

  terms and other reasonable due diligence to confirm this designation.

               i.     The Filter AUSA will maintain a log of all potentially protected

  documents and items received from the Filter Agent. The log will identify the

  material received by type, date, sender and recipient (if applicable), and subject

  matter. The Filter AUSA will furnish to the privilege holder a list of potentially

  protected material submitted to the court for review with reasonable promptness in

  the manner and in the timeframe described in paragraph 10(a) above.

               j.     The Filter AUSA may forward or direct the Filter Agents to

  forward items or documents to investigating agents and prosecutors only after one

  of the following conditions is met, consistent with these instructions: (a) they have

  been designated by the Filter AUSA in writing as non-protected by the filter review
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  process, (b) after conferral with and the agreement of counsel for the privilege-

  holder, or (c) pursuant to a court order.

         10.   After the Filter Team’s review is complete, the Filter Agent will make

  non-protected items available to investigative agents and prosecutors. A copy of the

  electronic media preserving the electronic flags and steps taken to render the

  protected material hidden from and inaccessible to investigative agents and the

  prosecution team will be preserved consistent with forensic standards. The Filter

  Agent will prepare a report documenting steps taken during the review process and

  provide it to the Filter AUSA. This report will also be provided to the investigative

  agents and prosecutors assigned to this case.

         11.   If, despite the procedures outlined in these instructions, an

  investigative agent or prosecutor finds in the items provided by the Filter Agents or

  Filter AUSA any tangible, documentary, or electronic data that appears to contain

  protected or potentially protected information, they will not examine it further and

  will immediately notify the Filter Agents, one of whom will take custody of the

  material in question, notify the Filter AUSA. The Filter AUSA will then notify the

  privilege holder of such an occurrence.




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        E.     Rule of Caution Regarding Potential Privilege Claims

        12.    In reviewing items pursuant to these instructions, the Filter Agents

  and Filter AUSA should err on the side of caution and treat any questionable items

  as potentially protected. In addition:

              Unless otherwise advised by the Filter AUSA, the Filter Agents should
               treat as presumptively protected any letter, text, e-mail,
               memorandum, or other document containing a communication between
               any subject/defendant or one of his/her attorneys, staff members or
               agents, on the one hand; and one of his/her attorneys, staff members or
               agents, on the other hand.

              Filter team members should know and refer to any lists of attorneys
               and/or law firms known or believed to have represented the identified
               defendants, attached to these instructions or later provided by an
               attorney for a defendant.

              Filter team members should treat as presumptively protected all
               materials prepared by attorneys, their staff or an agent of the attorney
               during the course of or in preparation for litigation in either a criminal
               investigation into the defendants or any civil litigation in which Mr.
               Tew or Mrs. Tew was involved.

        F.     The Attorney-Client Privilege

        13.    Filter team members should also be familiar with the legal elements of

  the attorney-client privilege and the attorney work product doctrine. While these

  instructions take an expansive view of what constitutes protected material,

  particular care should be given to material that falls within the attorney-client

  privilege and work product doctrines, set forth below. If the Filter Agents have any



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  legal questions about may or may not qualify as presumptively or potentially

  protected, they should consult with the Filter AUSA.

        14.    The attorney-client privilege applies to “confidential communications

  by a client to an attorney made in order to obtain legal assistance from the attorney

  in his capacity as a legal advisor.” In re Grand Jury Proceedings, 616 F.3d 1172,

  1182 (10th Cir. 2010) (quoting In re Grand Jury Subpoena Duces Tecum Issued on

  June 9, 1982, 697 F.2d 277, 278 (10th Cir.1983) (internal quotation marks and

  citation omitted)). “A party claiming the attorney-client privilege must prove its

  applicability, which is narrowly construed.” United States v. Merida, 828 F.3d 1203,

  1209 (10th Cir. 2016) (quoting Foster v. Hill (In re Foster), 188 F.3d 1259, 1264

  (10th Cir. 1999)).

        15.    In the case of corporate counsel, “[a]ny privilege resulting from

  communications between corporate officers and corporate attorneys concerning

  matters within the scope of the corporation’s affairs and the officer’s duties belongs

  to the corporation and not to the officer.” Id. at 1210, (quoting Intervenor

  v. United States (In re Grand Jury Subpoenas), 144 F.3d 653, 658 (10th Cir. 1998)

  (emphasis added)). If corporate officers want to extend the attorney-client privilege

  to communications they had with corporate counsel in their individual capacities,

  they must satisfy the following five elements:



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        First, they must show they approached counsel for the purpose of seeking
        legal advice. Second, they must demonstrate that when they approached
        counsel they made it clear that they were seeking legal advice in their
        individual rather than in their representative capacities. Third, they must
        demonstrate that the counsel saw fit to communicate with them in their
        individual capacities, knowing that a possible conflict could arise. Fourth,
        they must prove that their conversations with counsel were confidential.
        And, fifth, they must show that the substance of their conversations with
        counsel did not concern matters within the company or the general affairs of
        the company.

  Id. (citing Intervenor at 659 (quoting In re Bevill, Bresler & Schulman Asset

  Management Corp., 805 F.2d 120, 123 (3d Cir. 1986)).

        16.     “[T]he mere fact that an attorney was involved in a communication

  does not automatically render the communication subject to the attorney-client

  privilege.” In re Grand Jury Proceedings, 616 F.3d 1172, 1182 (10th Cir. 2010)

  (quoting Motley v. Marathon Oil Co., 71 F.3d 1547, 1550–51 (10th Cir. 1995)).

  Instead, the attorney-client privilege is “narrowly construed” such that a privileged

  “communication between a lawyer and client must relate to legal advice or strategy

  sought by the client” where “the ‘client’ is the actual recipient of the services.”

  Merida at 1209 (quoting United States v. Johnston, 146 F.3d 785, 794 (10th

  Cir.1998) (emphasis added)); see also In re Grand Jury Proceedings at 1182 (quoting

  Johnston)).

        17.     Attorney-client privilege will be “lost if the client discloses the

  substance of an otherwise privileged communication to a third party.” United


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  States v. Ary, 518 F.3d 775, 782 (10th Cir. 2008) (citing In re Qwest Commc'n Int'l.

  Inc., 450 F.3d 1179, 1185 (10th Cir. 2006) (quotation omitted)).

        G.     The Attorney Work Product Doctrine

        18.    The work product doctrine, codified in Federal Rule of Civil Procedure

  26(b)(3), protects from discovery “documents and tangible things . . . prepared by a

  party or his representative in anticipation of litigation.” In re Qwest at 1186

  (quoting Fed. R. Civ. P. 26(b)(3)). The work product doctrine is narrower than the

  attorney-client privilege, and is more akin to a limited or qualified privilege.

  Documents protected as work product may still be discoverable, but only upon a

  showing of substantial need for the materials and undue hardship in obtaining their

  substantial equivalent by other means. Id.

        19.    The work product doctrine “extends to the production of material

  assembled by an attorney in preparation for impending litigation.” Ary, 518 F.3d at

  783 (citing Thompson v. United States (In re September 1975 Grand Jury Term, 532

  F.2d 734, 738 (10th Cir.1976) (quotation omitted)). “The protection also applies to

  materials prepared by an attorney’s agent, if that agent acts at the attorney’s

  direction in creating the documents.” Id. at 783 (citing United States v. Nobles, 422

  U.S. 225, 238-39 (1975)).

        20.    The work product doctrine does not apply to documents that appear to

  have been prepared in the regular course of business, and the party claiming this

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  protection bears the burden of demonstrating that each document was in fact

  prepared in anticipation of litigation. In re Grand Jury Proceedings, 156 F.3d 1038,

  1042 (10th Cir. 1998). In sum, “[t]he party asserting work product privilege has the

  burden of showing the applicability of the doctrine.” Id. (citing Barclaysamerican

  Corp. v. Kane, 746 F.2d 653, 656 (10th Cir. 1984)).

        21.    The mental impressions or opinions of any of the defendants’ lawyers

  are particularly important in reviewing potentially protected work product. In fact,

  even where work product may otherwise be discoverable, Rule 26(b)(3) requires the

  court to “protect against disclosure of the mental impressions, conclusions, opinions,

  or legal theories of an attorney or other representative of a party concerning the

  litigation.” Thus, any document or file which contains the thoughts or opinions of

  an attorney about actual or anticipated criminal or civil litigation must be protected

  from disclosure to investigating agents and prosecutors.

        H.     Consultation With Investigative Agents or Prosecutors

        During the review process, the Filter Agent or Filter AUSA may consult with

  the investigative agents or prosecutors concerning the facts of the investigation, the

  legal elements of the attorney-client privilege or work product doctrine, the scope of

  the warrants, the appropriateness of the seizure of any document, file, or item, or

  any other factual or legal question. However, no member of the filter team should

  disclose the substance of any presumptively or potentially protected item to any
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  investigative agent or prosecutor unless the item is finally determined not to be

  protected, consistent with these instructions, and may otherwise be disclosed to the

  investigative agents or prosecutor.




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                                  APPENDIX I

   LIST OF ATTORNEYS AND LAW FIRMS KNOWN OR SUSPECTED TO BE
    ASSOCIATED WITH SUBJECTS/DEFENDANTS/PRIVILEGE HOLDERS

  1.    Attorneys for Defendant #1 Michael Tew

        A. Attorneys previously identified by prior counsel for Mr. Tew

         This list of attorneys and contact information were provided by Eric
  Creizman and Melissa Madrigal, prior counsel for Mr. Tew. We received no
  additional supplementation from subsequent counsel Ed Harris and later, Tom
  Ward and Tor Ekeland:

        NAME:       Eric Creizman
        FIRM:       Armstrong Teasdale LLP
        PHONE:      917.494.5881
        EMAILS:     ecreizman@atllp.com
                    ecreiz@icloud.com

        NAME:       Melissa Madrigal
        FIRM:       Armstrong Teasdale LLP
        PHONE:      786.543.1877
        EMAIL:      mmadrigal@atllp.com

        NAME:       Michael Sheehan
        FIRM:       Sheehan Law Denver
        PHONE:      719.660.7366
        EMAIL:      michael.sheehan.esq@gmail.com

        NAME:       Nichole Galvin
        FIRM:       Galvin Law
        PHONE:      410.336.0166
        EMAIL:      ngalvin@galvinlawllc.com

        NAME:       Terrell Smith
        FIRM:       Michael Best & Friedrich LLP
        PHONE:      801.231.2716
        EMAIL:      twsmith@michaelbest.com

        NAME:       David Kaplan
        FIRM:       Haddon, Morgan, and Foreman P.C.
        PHONE:      303.489.9686
        EMAIL:      dkaplan@hmflaw.com

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        NAME:        Kathryn Stimson
        FIRM:        Stimson Stancil LaBranche Hubbard, LLC
        PHONE:       Unknown
        EMAIL:       stimson@sslhlaw.com

        In connection with the consent privilege segregation process negotiated by
  the prosecution team and confirmed with prior counsel for Mr. Tew, the prosecution
  team provided the following additional parameters to the relevant forensic analysts
  who are assisting with the application of the filters: (1) inclusion of common
  nicknames of “Mike Sheehan for Michael Sheehan, “Dave Kaplan” for David
  Kaplan, and “Kate Stimson” for Kathryn Stimson; (2) separate searches for each of
  the law firms identified, each of the phone numbers listed above, and each of the
  email addresses listed above; (3) removing the LLP/P.C./LLC in searches for firm
  names; (4) no additional searches.

        B. Additional Attorneys Identified During Proceedings

         Since the time this list was developed with Mr. Creizman and Ms. Madrigal,
  prior lawyers for Mr. Tew, Mr. Tew has been represented by the following
  additional attorneys:

        NAME:    Edward Harris
        FIRM:    Office of the Federal Public Defender
        ADDRESS: 633 17th Street, Suite 1000
                 Denver, CO 80202
        PHONES: 303.294.7002
                 303.748.2484
        EMAIL:   Edward_Harris@fd.org

        NAME:    Thomas Ward
        FIRM:    McDermott Stuart & Ward LLP
        ADDRESS: 140 East 19th Avenue
                 Suite 300
                 Denver, CO 80203
        PHONES: 303-832-8888
                 303-863-8888 (fax)
                 720-280-7506 (mobile
        EMAIL:   tward@mswdenver.com

        As noted in this memorandum, the defendant Michael Tew was represented
  by Tor Ekeland, Michael Hassard, and Xuan Zhou between February 25, 2021 and
  February 25, 2022. There is no evidence of any attorney-client relationship in the



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  period before the items that are being reviewed were seized. He is currently
  represented by attorney Peter Bornstein.

  2.    Attorneys for Defendant #2 Kimberley Tew

         The prosecution team is not aware of what attorney-client relationships, if
  any, Mrs. Tew had prior to July 8, 2020.5 Based on the correspondence described
  above in the Introduction, we add the following potential attorney-client
  relationships out of an abundance of caution:

        NAME:        Eric Creizman
        FIRM:        Armstrong Teasdale LLP
        PHONE:       917.494.5881
        EMAILS:      ecreizman@atllp.com
                     ecreiz@icloud.com

        NAME:        Melissa Madrigal
        FIRM:        Armstrong Teasdale LLP
        PHONE:       786.543.1877
        EMAIL:       mmadrigal@atllp.com

        NAME:        Lauren Tew

         Lauren Tew is defendant Kimberley Tew’s sister. Based on a Google search,
  it appears she is a lawyer. The prosecution team does not have enough information
  to determine whether communications with Lauren Tew were personal or made for
  the purpose of obtaining legal advice as part of an attorney-client relationship.
  However, out of an abundance of caution, the filter team should identity further
  contact information for Lauren Tew and use keyword searches to mark
  communications with her as presumptively or potentially protected.

        NAME:        Unknown (“Lawyer 3”)
        PHONE:       (949) 204-7468

       As explained in the July 7, 2021 Letter from Government to Counsel for Mr.
  Tew and Mrs. Tew regarding further filtering of search warrant return for
  kley@me.com, one of the agents conducting the prior review noted the existence of a


        5 As noted in the correspondence referenced in the Introduction, the

  prosecution team requested that forensic analysts identify and remove from the
  search warrant return for kley@me.com items that were (1) dated July 8, 2020 or
  after; or (2) undated. Any additional filtering that the filter team deems
  appropriate consistent with this memorandum for the search warrant return for
  kley@me.com will be performed against the already filtered materials.

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  contact named “Lawyer 3” but did not review anything of substance. The Filter
  team should further identify Lawyer 3 and use keyword searches to mark
  communications with this lawyer as presumptively or potentially protected.

        NAME:    Jamie Hubbard
        FIRM:    Stimson Stancil LaBranche Hubbard
        ADDRESS: 1652 N Downing Street
                 Denver, CO, 80218
        PHONES: 720.689.8909
                 720.985.5184
        EMAIL:   hubbard@sslhlaw.com

         The prior AUSAs on the matter reported that they became aware that Mrs.
  Tew retained Jamie Hubbard, a lawyer in Denver, more than a month after Mr.
  Tew’s arrest. In an abundance of caution given that all materials dated on or after
  July 8, 2020 or are undated have summarily been filtered out of the search warrant
  return for kley@me.com, Ms. Hubbard is nevertheless included here.

         As noted in this memorandum, the defendant Kimberley Tew was
  represented by Tor Ekeland, Michael Hassard, and Xuan Zhou between February
  25, 2021 and February 25, 2022. There is no evidence of any attorney-client
  relationship in the period before the items that are being reviewed were seized. She
  is currently represented by attorney Peter Bornstein.


     LIST OF PROSECUTORS AND AGENTS ASSIGNED TO INVESTIGATE
         AND PROSECUTE THIS CASE – THE PROSECUTION TEAM

  United States Attorney’s Office
       Bryan Fields, AUSA
       Karl Schock, AUSA
       Martha Paluch, AUSA
       JD Rowell, Chief, Criminal Division
       Matthew T. Kirsch, Acting U.S. Attorney
       Danielle Storinsky, Contract Legal Assistant
       Portia Peter, Contract Legal Assistant
       Veronica Ortiz, Legal Administrative Specialist
       Michael Price, Legal Administrative Specialist
       Margaret M. Bowdouris, Supervisory Legal Administrative Specialist

  Federal Bureau of Investigation
       Sarah Anderson, Special Agent
       John Maglosky, Special Agent
       Matthew Morgan, Financial Analyst
       Dana McMahon, Financial Analyst
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  IRS-Criminal Investigation
       Lisa Palmer, Special Agent
       Melinda Wilgus, Special Agent
       Ben Hopping, Special Agent
       Tony Romero, Special Agent




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